LAW OFFICES OF JASON J. REBHUN, P.C.
Attorneys-At-Law
40 Wall Street, Suite 1607
New York, NY 10005                                                                                   Jason J. Rebhun, Esq.*
(646) 201-9392                                                                                        John A. Borelli, Esq.*
Fax (646) 871-0035
Jason@jasonrebhun.com                                                                                      *Admitted in NY & NJ**

                                                                       January 31, 2025
          Via ECF
          Magistrate Judge Lee G. Dunst
          Eastern District of New York
          100 Federal Plaza
          Central Islip, NY 11722
                                       Re: Allstate v Braun et al
                                       Case 2:24-cv-02123-NJC-LGD (E.D.N.Y.)
          Dear Judge Dunst:

                  We write according to this Court’s directives for a status update as of today’s date. Please
          allow this correspondence to serve as a joint status report by all parties.

                 As you may recall, this matter involves the theft of a 2022 Lamborghini. This matter is a
          declaratory judgment action and Allstate is seeking a declaration from the Court that there is no
          insurance coverage available under an Allstate Auto Policy issued to Helene Braun and Jacob
          Braun for the theft of a 2022 Lamborghini owned by Yitzchok Wolf and loaned to Jonathan Braun
          and Miriam Hurwitz, which occurred on October 29, 2022.

                  Since we last conferenced this case before Your Honor on January 8, 2025, Defendants
          were able to obtain the information needed on the current condition of the vehicle and make a
          settlement demand to Allstate. On January 28, 2025 (the day the information was received by our
          office), Defendants sent Plaintiff a settlement demand with supporting documentation for same.
          Plaintiff’s counsel has forwarded the documentation to Allstate and a conference is being
          scheduled to discuss same.

                   The parties therefore jointly respectfully request a stay of discovery or an extension of any
          discovery deadlines for a few weeks until Plaintiff can respond to Defendants’ settlement demand
          at which point the parties will update Your Honor further. At that time, the parties intend to advise
          the Court of the likelihood of settlement, if mediation is an option, if Your Honor’s involvement
          in settlement discussions is an option, or if the parties intend on pursuing discovery and/or motion
          practice.

                  We thank the Court for its anticipated attention and courtesies in this matter.

                                                                        Respectfully submitted

                                                                        Jason J. Rebhun

          JJR/
          CC: Counsel for Plaintiff (by email and ECF)
